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                     IN THE UNITED STATES DISTRICT COURT
                 FOR THE NORTHERN DISTRICT OF WEST VIRGINIA
                                 CLARKSBURG

  UNITED STATES OF AMERICA,

                     Plaintiff,

  v.                                          Case No.: 1:14CR89-06
                                              (JUDGE KEELEY)

  WILLIAM MONTAGUE, III,

                     Defendant.


                       REPORT AND RECOMMENDATION
                  CONCERNING PLEA OF GUILTY IN FELONY CASE

         This matter has been referred to the undersigned Magistrate Judge by the

   District Court for purposes of conducting proceedings pursuant to Federal Rule of

   Criminal Procedure 11. Defendant, William Montague, III, in person and by counsel,

   Craig P. Erhard, appeared before me on March 11, 2016. The Government appeared

   by Assistant United States Attorney, Zelda E. Wesley. The Court determined that

   Defendant was prepared to enter a plea of "Guilty" to Count Fifteen of the

   Indictment.

         The Court proceeded with the Rule 11 proceeding by first placing Defendant

   under oath and inquiring into Defendant’s competency. The Court determined

   Defendant was competent to proceed with the Rule 11 plea hearing and cautioned

   and examined Defendant under oath concerning all matters mentioned in Rule 11.

         The Court next inquired of Defendant concerning his understanding of his

   right to have an Article III Judge hear the entry of his guilty plea and his

   understanding of the difference between an Article III Judge and a Magistrate
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   Judge. Defendant thereafter stated in open court that he voluntarily waived his right

   to have an Article III Judge hear his plea and voluntarily consented to the

   undersigned Magistrate Judge hearing his plea. Defendant tendered to the Court a

   written Waiver of Article III Judge and Consent to Enter Guilty Plea before

   Magistrate   Judge.    The waiver and consent         was   signed by Defendant,

   countersigned by Defendant's counsel, and concurred by the signature of the

   Assistant United States Attorney.

         Upon consideration of the sworn testimony of Defendant, as well as the

   representations of his counsel and the representations of the Government, the

   Court finds that the oral and written waiver of an Article III Judge and consent to

   enter a guilty plea before a Magistrate Judge was freely and voluntarily given.

   Additionally, the Court finds that the written waiver and consent was freely and

   voluntarily executed by Defendant William Montague's only after having had his

   rights fully explained to him and having a full understanding of those rights through

   consultation with his counsel, as well as through questioning by the Court. The

   Court ORDERED the written Waiver and Consent to Enter Guilty Plea before a

   Magistrate Judge filed and made part of the record.

         Thereafter, the Court determined that Defendant's plea was pursuant to a

   written plea agreement, and asked the Government to tender the original to the Court.

   The Court asked counsel for the Government if the agreement was the sole

   agreement offered to Defendant.      The Government responded that it was, and

   counsel for Defendant confirmed the same.        The Court asked counsel for the


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   Government to summarize the written plea agreement. Counsel for Defendant and

   Defendant stated that the agreement as summarized by counsel for the Government

   was correct and complied with their understanding of the agreement. The

   undersigned further inquired of Defendant regarding his understanding of the written

   plea agreement. Defendant stated he understood the terms of the written plea

   agreement and also stated that it contained the whole of his agreement with the

   Government and no promises or representations were made to him by the

   Government other than those terms contained in the written plea agreement. The

   Court ORDERED the written plea agreement filed.

           The undersigned then reviewed with Defendant Count Fifteen of the

   Indictment and the elements the Government would have to prove, charging him

   with Distribution of Oxycodone in violation of Title 21, United States Code 841(a)(1)

   and 841(b)(1)(C). Subsequently, Defendant William Montague's pled GUILTY to the

   charge contained in Count Fifteen of the Indictment.     However, before accepting

   Defendant’s plea, the undersigned inquired of Defendant’s understanding of the

   charges against him, inquired of Defendant’s understanding of the consequences of

   him pleading guilty to the charges, and obtained the factual basis for Defendant’s

   plea.

           The Court heard the testimony of Special Agent John Large from the

   Clarksburg WV, Federal Bureau of Investigation. Special Agent Large testified that

   during the 2012-2013 calendar years he was involved in a joint investigation with the

   West Virginia State Police Bureau of Investigation concerning the transportation and


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   distribution of oxycodone and heroin. He further testified that on November 20, 2013,

   a confidential informant (CI) and West Virginia State Trooper involved in the

   investigation made an undercover controlled purchase of oxycodone from Defendant

   Montague at the Glenmark Center parking lot in Morgantown, West Virginia. The CI

   exchanged $150.00 for five oxycodone pills.

         Neither counsel for Defendant nor Defendant had any questions for the

   witness.   Defendant stated he heard, understood, and did not disagree with the

   testimony of the Government's witness. Additionally, Defendant provided a factual

   basis for the commission of the offense.         The undersigned Magistrate Judge

   concludes the offense charged in Count Fifteen of the Indictment is supported by

   an independent basis in fact concerning each of the essential elements of such

   offense, and that independent basis is provided by Special Agent John Large from

   the Federal Bureau of Investigation testimony.

         The undersigned then reviewed with Defendant the statutory penalties

   applicable to an individual adjudicated guilty of the felony charge contained in Count

   Fifteen of the Indictment and the impact of the sentencing guidelines on sentencing

   in general.   From said review, the undersigned Magistrate Judge determined

   Defendant understood the nature of the charges pending against him and that the

   possible statutory maximum sentence which could be imposed upon his conviction

   or adjudication of guilty on Count Fifteen was imprisonment for a period of twenty

   (20) years. The undersigned further determined Defendant understood a fine of not

   more than $1,000,000.00 could be imposed, both fine and imprisonment could be


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   imposed, he would be subject to a period of at least three (3) years of supervised

   release, and the Court would impose a special mandatory assessment of $100.00

   for the felony conviction payable on or before the date of sentencing.      Defendant

   also understood that his sentence could be increased if he had a prior firearm

   offense, violent felony conviction, or prior drug conviction. He also understood he

   might be required by the Court to pay the costs of his incarceration, supervision, and

   probation.

        The undersigned asked Defendant whether he understood that if he were not a

   citizen of the United States, by pleading guilty to a felony charge he would be subject

   to deportation at the conclusion of any sentence; that he would be denied future entry

   into the United States; and that he would be denied citizenship if he ever applied for

   it. Defendant stated that he understood.

          The undersigned also reviewed with Defendant his waiver of appellate and

   collateral attack rights.   Defendant understood that he was waiving his right to

   appeal his conviction and sentence to the Fourth Circuit Court of Appeals on any

   ground whatsoever, including those grounds set forth in 18 U.S.C. § 3742.

   Defendant further understood that under his plea agreement, he was waiving his

   right to challenge his conviction and sentence in any post-conviction proceeding,

   including any proceeding under 28 U.S.C. § 2255.              Defendant understood,

   however, that he was reserving the right to raise claims of ineffective assistance of

   counsel or prosecutorial misconduct that he learned about after the plea hearing

   and agreed that he was unaware of any ineffective assistance of counsel or


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   prosecutorial misconduct in his case at this time. From the foregoing, the

   undersigned determined that Defendant understood his appellate rights and

   knowingly gave up those rights pursuant to the conditions contained in the written

   plea agreement.

         The undersigned Magistrate Judge further examined Defendant relative to his

   knowledgeable and voluntary execution of the written plea bargain agreement, and

   determined   the entry into said written plea bargain agreement was both

   knowledgeable and voluntary on the part of Defendant.

         The undersigned Magistrate Judge further inquired of            Defendant, his

   counsel, and the Government as to the non-binding recommendations and

   stipulations contained in the written plea bargain agreement and determined that

   Defendant understood, with respect to the plea bargain agreement and to

   Defendant's entry of a plea of guilty to the felony charge contained in Count

   Fifteen of the Indictment. The undersigned Magistrate Judge informed Defendant that

   he would write the subject Report and Recommendation and would further order a

   pre-sentence investigation report be prepared by the probation officer attending

   the District Court. The undersigned advised the Defendant that the District Judge

   would adjudicate the Defendant guilty of the felony charged under Count Fifteen of the

   Indictment. Only after the District Court had an opportunity to review the pre-

   sentence investigation report, would the District Court make a determination as to

   whether to accept or reject any recommendation or stipulation contained within the

   plea agreement or pre-sentence report. The undersigned reiterated to Defendant that


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   the District Judge may not agree with the recommendations or stipulations contained

   in the written agreement. The undersigned Magistrate Judge further advised

   Defendant, in accord with Federal Rule of Criminal Procedure 11, that in the event

   the District Court Judge refused to follow the non-binding recommendations or

   stipulations contained in the written plea agreement and/or sentenced him to a

   sentence which was different from that which he expected, he would not be permitted

   to withdraw his guilty plea. Defendant and his counsel each acknowledged their

   understanding and Defendant maintained his desire to have his guilty plea

   accepted.

           Defendant also understood that his actual sentence could not be calculated

   until after a pre- sentence report was prepared and a sentencing hearing

   conducted. The undersigned       also advised, and Defendant       stated that he

   understood, that the Sentencing Guidelines are no longer mandatory, and that, even

   if the District Judge did not follow the Sentencing Guidelines or sentenced him to a

   higher sentence than he expected, he would not have a right to withdraw his guilty

   plea.   Defendant further stated that his attorney showed him how the advisory

   guideline chart worked but did not promise him any specific sentence at the time of

   sentencing.   Defendant stated that he understood his attorney could not predict or

   promise him what actual sentence he would receive from the sentencing judge at the

   sentencing hearing.    Defendant further understood there was no parole in the

   federal system, but that he may be able to earn institutional good time, and that

   good time was not controlled by the Court, but by the Federal Bureau of Prisons.


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         Defendant, William Montague's, with the consent of his counsel, Craig P.

   Erhard proceeded to enter a verbal plea of GUILTY to the felony charge in Count

   Fifteen of the Indictment.

         Upon consideration of all of the above, the undersigned Magistrate Judge

   finds that Defendant is fully competent and capable of entering an informed plea;

   Defendant is aware of and understood his right to have an Article Ill Judge hear and

   accept his plea and elected to voluntarily consent to the undersigned United States

   Magistrate Judge hearing his plea; Defendant understood the charges against him,

   not only as to the Indictment as a whole, but in particular as to Count Fifteen of the

   Indictment; Defendant understood the consequences of his plea of guilty, in

   particular the maximum statutory penalty to which he would be exposed for Count

   Fifteen; Defendant made a knowing and voluntary plea of guilty to Count Fifteen of

   the Indictment; and Defendant's plea is independently supported by Special Agent

   John Large from the Federal Bureau of Investigation testimony which provides,

   beyond a reasonable doubt, proof of each of the essential elements of the charges

   to which Defendant has pled guilty.

          The undersigned Magistrate Judge therefore recommends Defendant's plea of

   guilty to Count Fifteen of the Indictment herein be accepted conditioned upon the

   Court's receipt and review of this Report and Recommendation.

          The undersigned further directs that a pre-sentence investigation report be

   prepared by the adult probation officer assigned to this case.

          Any party may, within fourteen (14) days after being served with a copy of this


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   Report and Recommendation, file with the Clerk of the Court written objections

   identifying the portions of the Report and Recommendation to which objection is

   made, and the basis for such objection. A copy of such objections should also be

   submitted to the Honorable Irene M. Keeley, United States District Judge.   Failure to

   timely file objections to the Report and Recommendation set forth above will result

   in waiver of the right to appeal from a judgment of this Court based upon such

   report and recommendation.     28 U.S.C. § 636(b)(l); United    States v. Schronce,

   727 F.2d 91 (4th Cir. 1984), cert. denied, 467 U.S. 1208 (1984); Wright v. Collins,

   766 F.2d 841 (4th Cir. 1985); Thomas v. Arn, 474 U.S. 140 (1985).

         The Clerk of the Court is directed to send a copy of this Report and

   Recommendation to counsel of record.


  Respectfully submitted on March 11, 2016




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